
974 So.2d 664 (2008)
In re Fred A. BLANCHE, III.
No. 2008-B-0257.
Supreme Court of Louisiana.
February 13, 2008.

ORDER
Considering the Petition for Interim Transfer to Disability Inactive Status and/or in the alternative Interim Suspension filed by the Office of Disciplinary Counsel,
IT IS ORDERED that respondent, Fred A. Blanche, III, Louisiana Bar Roll number 3114, be and he hereby is suspended from the practice of law on an interim basis pursuant to Supreme Court Rule XIX, § 19.2, pending further orders of this court. Pursuant to Supreme Court Rule XIX, § 26(E), this order is effective immediately.
IT IS FURTHER ORDERED that the matter bearing this court's docket number 08-B-0107 be remanded to the disciplinary board for consolidation with the pending investigative matters. After appropriate consideration of the consolidated matters, the board is directed to issue a single *665 recommendation of discipline to this court encompassing all disciplinary matters involving respondent.
Is/ Chet D. Traylor
Justice, Supreme Court of Louisiana
